      Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 1 of 13




           IN THE DISTRICT COURT IN AND FOR OKLAHOMA COUNTY
                                                    FILED IN DISTRICT COURT
                            STATE OF OKLAHOMA          OKLAHOMA COUNTY

                                                                        APR 1 4 2021
ALYSSA MERKLEY, ZOE GRIGG,                        )
KALE! MARTIN, KALSEY COLE,                        )                RICK WARREN
                                                                       CO'URT CLERK
MCKENZIE BOOKOUT, RAEGAN FOSTER,                  )               38
BRINLEY DUNLAP, ABBEY THOMPSON,                   )
DAKOTA ROSS, DEMI WEER, KINLEE                    )
BELL, L YNDEE JIMBOY, WILLOW                      )
MCCLENDON, REBEKAH SEWELL,                        )
SIERRA BURROW, CAMERYN DEAN, KIERSTEN             )
SNODGRASS, NAOMI ROSS, TAYLOR ORR,                )
DAYDEN MEREDITH, A VRIE HECIMOVICH,               )
AND KAYLEE JONES, Individually and as             )
Members of the University of Central Oklahoma     )
Cheer Team 2020-2021,                             )
                                                  )
                    Plaintiffs,                   )
                                                  )
vs.                                               )     CASE NO. CV-2021-806
                                                  )
STATE OF OKLAHOMA, ex rel.,                       )
BOARD OF REGENTS OF                               )
UNIVERSITY OF CENTRAL                             )
OKLAHOMA, ex rel., UNIVERSITY'S                   )
OFFICE OF STUDENT CONDUCT,                        )
                                                  )
                    Defendants.                   )


                           AMENDED
 PETITION FOR WRIT OF MANDAMUS, OR ALTERNATIVELY, FOR WRIT
 OF PROHIBITION, AND APPLICATION FOR TEMPORARY RESTRAINING
    ORDERS, AND FOR TEMPORARY AND PERMANENT INJUNCTION

        COMES NOW the Plaintiffs, Alyssa Merkley, Zoe Grigg, Kalei Martin, Kalsey

Cole, McKenzie Bookout, Raegan Foster, Brinley Dunlap, Abbey Thompson, Dakota

Ross, Demi Weer, Kinlee Bell, Lyndee Jimboy, Willow McClendon, Rebekah Sewell,


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                                                                       Exhibit 5
   Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 2 of 13




Sierra Burrow, Cameryn Dean, Kiersten Snodgrass, Naomi Ross, Taylor Orr, Dayden

Meredith, Avrie Hecimovich, and Kaylee Jones, Individually and as Members of the

University of Central Oklahoma Cheer Team 2020-2021, hereinafter "CHEER TEAM",

pursuant to Okla. Stat. tit. 12, §§ 1382, 1383 and 1384.1, and respectfully submit this

Amended Petition for Writ of Mandamus, or alternatively, for Wiit of Prohibition, and

also an Application for Temporary Restraining Orders and for Temporary and Pennanent

Injunction. In supp01t hereof, Plaintiffs would allege and state as follows:

       1.     All of the Plaintiffs are individuals and were members of the University of

Central Oklahoma Cheer Team for the school year 2020-2021. Some were "Rookies"

(first year), and some were "Advanced" (older than the first year). All continued in that

capacity at all times material herein, and intended to continue in that capacity for the

remainder of the school year. All eligible intended and desired to continue in future years

and intended to continue to be team members that associated or affiliated with the Cheer

Team for many years to come. All have had their liberty and property interests impacted

and damaged by the actions of Defendants.

       2.     Defendants are The University of Central Oklahoma, an institution of the

Regional University Board of Regents of the State of Oklahoma, and the University's

Office of Student Conduct, all singly and collectively referred to herein as "UCO." UCO

is an institution of higher education and a part of the Regional University System of

Oklahoma, which is established in the Oklahoma Constitution.

       3.    Due to the actions of Defendants, all the Plaintiffs, and also other members

of the UCO Cheer Team, have been suspended or removed from the UCO Cheer Team

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                                                                               Exhibit 5
    Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 3 of 13




without Due Process of Law, as guaranteed by the United States Constitution
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Amendment 14, § 1, and the Oklahoma Constitution Atticle 2 § 7. 2

          3.   The UCO Defendants' actions, as more particularly described herein,

prohibited them from continued and future participation and terminated all cheer

activities for the balance of the 2020-2021 school year and beyond.

          4.   Plaintiffs will suffer immediate and itTeparable injury, loss, and damage

because they will not be allowed to participate in cheer-related activities at UCO for the

next two years, including competing in national competitions.                In some instances,

Plaintiffs and others are banned from any association with the cheer team until 2099. In

sh01t, they have lost the oppo1tunity to participate in activities they have spent years

training, practicing, and participating in at the college level and, in most cases, long

before.

          5.   The precursor to events at issue in this action began on or about August 10

and 11, 2020, when UCO Cheer Camp was held with Coach Jenni Hawkins and Coach

Drisle, a NCA member.3 At that time, the team signed a memo of understanding and

worked together for the upcoming school year.

          6.   On August 12, 2020, the Cheer Team held their Big/Little reveal where Big

Sisters were disclosed to the new team members. That event occurred at Hafer Park in

Edmond, Oklahoma. Following that, a Team Bonding event took place at the personal
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   " ••• No State shall make or enforce any law which shall abridge the privileges or immunities of
citizens of the United States; nor shall any State deprive any person of life, liberty, or property,
without due process of law; nor deny to any person within its jurisdiction the equal protection of
the laws."
2
  "No person shall be deprived oflife, libe1ty, or property, without due process oflaw."
3
  National Cheerleaders Association
                                                 3




                                                                                    Exhibit 5
  Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 4 of 13




residence of several team members. That residence was also in Edmond, Oklahoma.

That event's purpose was to do what its name suggests, allow the team to bond as a

group, and it was a successful event.

       7.     The Cheer Team also successfully participated m all scheduled events

throughout the school year without any meaningful incidents.

       8.     Over six months later, on or about Febrnaiy 25, 2021, a National Decision

Survey was sent to UCO cheerleaders. Nineteen members of the UCO Cheer Team

qualified to go to the National Competition.

       9.     On February 28, 2021, the survey results were emailed to the UCO

cheerleading team, telling them they will not be allowed to compete virtually.

       10.    On March I, 2021, almost seven months after the Team Bonding event, a

message was sent via GroupMe application to the Cheer Team members infonning them

that hazing allegations had been made.

       11.    On March 5, 2021, an email was sent to the Cheer Team informing them of

the investigation and fact interviews were going to be conducted.

       12.   During the period of March 1-18, 2021, it appears that the investigation

took place, and interviews with some team members were conducted.

      a.     During the "investigation" the subjects of the investigation,
      including all Plaintiffs, were not apprised of the specific charges against
      them, they were given no copy of the charges, they were denied the
      opportunity even to understand what they were responding to. Evetything
      was done in secret.
      b.     None of the subjects were given a Garrity Warning as required when
      alleged criminal activity is being pursued. Garrity v. State o(N.J., 385 U.S.
      493, 87 S.Ct. 616, 17 L.Ed.2d 562 (1967) The Ganity Warning is even
      required when the subjects of the interview do not know that potential

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                                                                            Exhibit 5
  Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 5 of 13




      criminal charges are being pursued. Plaintiffs now know that UCO was
      investigating criminal charges, 21 O.S. § 1190.
      c.      Plaintiffs were given no notice and afforded no opp01tunity to be
      heard, thereby denying them Due Process of Law.
      d.      Cheer Team members were told that they would have no contact with
      their parents.

      13.    The UCO Defendants found the Cheer Team guilty of a series of charges

and prohibited all members from participating in Cheer Team activities for two (2) years.

This detennined they were banned from participating in the highly-coveted national

competition for this year, and they are not allowed to compete during the suspension

term. Individual members were subjected to punishments ranging from suspension for

two years to not being allowed to do anything with the Cheer Team until 2099.

      14.    After 5:00 p.m. on March 19, 2020, UCO officials sent out an email to

UCO's media department, which created a published news story about the UCO

Defendants' investigation and findings.

      15.    On March 20, 2021, at approximately 9:32 a.m., the President of UCO

issued a statement to the media about the incident, investigation, etc. At approximately

2:20 p.m., on the same date, the lower classmen on the Cheer Team received an email

about the events and decisions made by the UCO Defendants.

      16.    On March 21, 2021, the Cheer Team attempted to hold a team meeting with

Coach Jenni and Kay Robinson, Assistant Vice-President for Student Affairs. Nothing

was accomplished, and after approximately one hour, the meeting abruptly ended.




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                                                                           Exhibit 5
    Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 6 of 13




         17.    On March 23, 2021, after meeting among themselves, a group of

cheerleaders and parents sent a letter to the UCO President requesting a meeting to

address this matter directly. The next day a meeting was denied by UCO.

         18.    It appears that some of the Cheer Team members were designated as

"Instigators" and received more severe punishment. One member of the "Rookies" (i.e.,

the alleged group of victims of the so-called hazing) was designated as an Instigator and

punished as such. She called UCO and asked what she was accused of doing and UCO

would not tell her. In frustration, she asked what she could do to find out and was told to

make a "records request" and they would get that information to her within a day.

         19.    She made the records request Monday, March 29, 2021, just as UCO had

advised her to do. The next day, she became concerned because she received no records

or information from UCO, and nothing was available they next day. Her appeal deadline

was Wednesday March 31, 2021, so she called UCO's office again. This time, she spoke

to a man named Rod. 4 He claimed that UCO had forty-five (45) days to get a response to

her records request. He said he was busy and didn't have time to deal with her right now;

she would need to wait 45 days. She told him she wanted to know what she was accused

of doing, so that she could appeal it, and he said he wasn't going to argue with her.

         20.    She still does not have that infonnation.

         21.    On or about March 31, 2021, UCO infonned the Cheer Team their "appeal

hearing" would occur on April 13, 2021. In other words, they had five (5) business days



4
    Probably Rod Costner, UCO Assistant Director Student Conduct, and the investigator.
                                                6




                                                                                 Exhibit 5
  Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 7 of 13




to prepare an appeal, not knowing what the charges were or what had been decided by

UCO and not seeing any records yet.

       22.    There was no hearing. The Team Members were never permitted to see

any of the documents or charges against them at any time before UCO's decision.

Plaintiffs were only allowed to choose one group representative to review the "Book"

after UCO made its decision.         The "Book" contained documents with redacted

info1mation. UCO Defendants insisted this review of the "Book" take place on campus,

in a designated room, and no copies were allowed. The designated group representative

was allowed to bring one team member and a "representative" into the room and no one

else. The "Book" reveals that a decision in the appeal is already a foregone conclusion.

All of that was done on or about April 8, 2021, leaving just two (2) business days to

prepare for the scheduled "appeal hearing" on April 13, 2021. The entire team appears to

be allotted twenty minutes for the appeal.

       23.    Due to the actions of the UCO Defendants, its agents, servants, employees,

officers, and officials, Plaintiffs have not been allowed to ask questions about the

accusations. They were threatened that if they talked about the girl who filed a complaint

against them, they would all be expelled from UCO, despite not knowing what was said.

The University has refused to communicate with these student's parents, saying that they

just deal with the girls. UCO's representatives have also asked inappropriate questions in

their interviews. For example, the interviewer asked one of the girls if she would give his

boss a spray tan. He commented on how pretty her nails were etc. Plaintiffs are not

permitted to complain.

                                             7




                                                                            Exhibit 5
   Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 8 of 13




       24.    Plaintiffs are denied their fundamental rights to Freedom of Association,

Privacy, and Equal Protection. They have not been given any notice, much less fair

notice. They certainly did not get a meaningful opportunity to be heard pre-suspension.

They were not allowed a true appeal post-suspension. UCO's actions futiher denied

Plaintiffs a reasonable chance to be prepared and deprived them of a fair oppotiunity to

have a meaningful hearing.

       25.    Plaintiffs' Liberty Interests are impacted as well, especially due to UCO' s

press releases, which have stigmatized them, damaged their permanent records, as well as

the disparate treatment they have been subjected to being a predominately female team.

They have been publicly accused of c1iminal conduct, which is unfounded.

       26.    Plaintiffs have been denied the Due Process right of calling and cross-

examining witnesses and having a reasonable opportunity to defend the charges.

       27.    The charges and punishment are in violation of Title IX and invidiously

discriminate against Plaintiffs as female athletes. Many of the alleged violations are

pennitted if committed by men; UCO just elects not to label them as "hazing." For

example, attending almost any football or basketball game would show numerous

coaches and upper class teammates, on the sidelines of the event, with players

patiicipating in the precise equivalent of being "yelled at in a military fashion." For some

reason, that does not count when done by males.




                                             8




                                                                             Exhibit 5
    Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 9 of 13




       28.    The document entitled "History of Sanctions Assigned to UCO

Organizations as a Consequence of Hazing Violations" 5 dated April 9, 2021, identifies

six prior incidents during the period 2015 tln·ough 2020. Four were fraternities and two

were sororities. Plaintiffs were not provided the specifics.

       29.    Two fraternities received "deferred suspensions,"6 the other two fraternities

received 6+ months and 13-months. The two sororities received 14+ months and 19-

month suspensions (or until the verified graduation or completed transfer of all current

members as of October 17, 2017). On average, the actual suspensions for men was (19

divided by 4) 4.75 months. The average for the women was (33 divided by 2) or 16.5

months.

       30.    Plaintiffs sanctions were much harsher than the men:

       a.     Shutdown/moratorium of the Cheer Team and Stunt Team until end of
              Spring 2021 semester7
       b.     Two-year suspension from competing on a national level
       c.     Cheer Team on a two-year probation
       d.     Annual hazing prevention training/education for all members
       e.     Annual Bystander h·aining
       f.     Membership review process will be conducted for all members who wish to
              try out next year
       g.     Immediate removal/suspension of all Cheer Team members who
              pa1iicipated in the hazing

       31     That in order to protect Plaintiffs from such immediate and irreparable

injury, loss and damage as will result from an appeal hearing being held on April 13,

2021 and fmiher actions being taken in violation of their rights as set forth herein,


5
   Provided without restriction by Rod Costner of UCO on Friday April 9, 2021 at 2:05 p.m.
6
  "Be Good" suspensions. If they don't be good they will actually be suspended.
7
   Since that has passed we assume it is stated in error.
                                               9




                                                                                Exhibit 5
  Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 10 of 13




Plaintiffs hereby request that a Temporary Restraining Order issue immediately

restraining UCO, and its agents, servants, employees, officers, and officials or related

entities from proceeding or enforcing any sanctions against Plaintiffs, and other similarly

situated, until such time as the pending charges against them are properly established

providing them Due Process of Law including, but not limited to, full and complete

notice, copies for each accused of all of the evidence against them, the right to call

witnesses, and the light to confront and cross-examine those that persons that accuse

them, including any witnesses regarding any actions deemed to violate the policies and

procedures of UCO. Plaintiffs further request a temporary and permanent injunction

prohibiting Defendants from taking any action against them until such time as they have

been afforded the Due Process referred to herein.

       32.    That Plaintiffs request a Temporary Restraining Order be issued in this

matter, that a date and time certain be set for hearing on such Petition for Temporary

Injunction requested herein, and that the provisions of the Temporary Restraining Order

requested herein remain in full force and effect until hearing upon the Temporary

Injunction.

       33.    That the need for a Temporary Restraining Order and Temporary Injunction

in this cause is to protect Plaintiffs from the immediate and irreparable injury, Joss and

damage which will result from the actions of Defendants.

       34     That any relief accorded Plaintiffs by and through the UCO rules have not

and will not be adequate, nor sufficient, to speedily prevent the immediate and irreparable

injury, loss and damage which Plaintiffs have suffered and will suffer, and, therefore,

                                            10




                                                                            Exhibit 5
  Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 11 of 13




prior notice of the issuance of the Temporary Restraining Order requested herein,

pursuant to Okla. Stat. tit. 12, § 1384.1, should not be required.

       WHEREFORE, above premises considered, Plaintiffs, Alyssa Merkley, Zoe

Grigg, Kalei Martin, Kalsey Cole, McKenzie Bookout, Raegan Foster, Brinley Dunlap,

Abbey Thompson, Dakota Ross, Demi Weer, Kinlee Bell, Lyndee Jimboy, Willow

McClendon, Rebekah Sewell, Sierra Burrow, Cameryn Dean, Kiersten Snodgrass, Naomi

Ross, Taylor 011", Day den Meredith, Avrie Hecimovich, and Kaylee Jones, pray that the

Comi issue immediately a Temporary Restraining Order restraining UCO, and its agents,

servants, employees, officers, and officials or related entities from proceeding or

enforcing any sanctions against Plaintiffs, and other similarly situated, until such time as

the pending charges against them are properly established providing them Due Process of

Law including, but not limited to, full and complete notice, copies for each accused of all

of the evidence against them, the right to call witnesses, and the light to confront and

cross-examine those that persons that accuse them, including any witnesses regarding any

actions deemed to violate the policies and procedures of UCO, and for such further relief

as this Court deems just, proper and right.




            ams, OBA #13003
~,,...-~- & Associates, PC
401 N. Hudson Ave., Suite 100
                                               ~   Kenneth Hughes ##21706
                                                   1218 E. 9th Street, Suite 8
Oklahoma City, OK 73102                            Edmond, Oklahoma 73034
Phone: (405) 232-9100                              (405) 848-0111
Fax: (405) 232-9114                                (405) 848-3507 fax
                                                   Email: carl.hughes@sbcglobal.net

                                              11




                                                                              Exhibit 5
  Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 12 of 13




Attorneys for Plaintiff



                            CERTIFICATE OF COUNSEL

                                   /1,
       I hereby certify that on April  2021 I forwarded a copy to Kendall PaJTish,
General Counsel, University of Central Oklahoma by email and also telephoned him
about this Amended Petition as we have been talkin about this case and to further
apprise them of our intentions.




[Verification attached]




                                          12




                                                                         Exhibit 5
   Case 5:21-cv-00429-HE Document 1-5 Filed 05/03/21 Page 13 of 13




                                     VERIFICATION

       COMES NOWB:iak-yD 1ibpoflawful age, under oath, and deposes and states as

follows:

       1.     I make this affidavit of my own personal knowledge.

       2.     I have reviewed the facts stated in this Petition for Writ of Mandamus, or

              Alternatively, For Writ Of Prohibition, And Application for Temporary

              Restraining Orders, And For Temporary and Permanent Injunction and the

              facts stated therein are true.


                                      VERIFICATION

       I state under penalty of perjury under the laws of Oklahoma that the foregoing is

true and correct.


April 12, 2021 Edmond, Oklahoma
        (Date and Place)




                                               12




                                                                               Exhibit 5
